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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE MANUFACTURED               )
       DRYWALL PRODUCTS                   )                   MDL NO. 2047
       LIABILITY LITIGATION               )
                                          )
THIS DOCUMENT RELATES TO:                 )                   SECTION: L
                                          )
Hobbie, et al. v.                         )                   JUDGE FALLON
RCR Holdings II, LLC, et al.,             )
                                          )
No. 10-1113                               )
                                          )                   MAG. JUDGE WILKINSON
__________________________________________)

[PROPOSED] FINAL ORDER AND JUDGMENT APPROVING CLASS SETTLEMENT
               WITH DEFENDANT RCR HOLDINGS II, LLC

       This matter has come before the Court to determine whether there is any cause why this

Court should not approve the Settlement with Defendant RCR Holdings II, LLC (“RCR”) set

forth in the Settlement Agreement, dated May 9, 2012, relating to the above-captioned litigation.

The Court, after carefully considering all papers filed and proceedings held herein and otherwise

being fully informed in the premises, has determined (1) that the Settlement should be approved,

and (2) that there is no just reason for delay of the entry of this Final Order and Judgment

approving the Settlement.

       Accordingly, the Court directs entry of this Final Order and Judgment which shall

constitute a final adjudication of this case on the merits as to the parties to the Settlement. Good

cause appearing therefore, it is:

       ORDERED, ADJUDGED AND DECREED that:

       1.      Jurisdiction of the Court. The Court has personal jurisdiction over all

Settlement Class Members because adequate notice has been provided to them and because they

have been provided the opportunity to exclude themselves from the Litigation. The Court has
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subject matter jurisdiction over this Litigation, including, without limitation, jurisdiction to

approve the Settlement Agreement and to dismiss the Litigation on the merits and with prejudice.

       2.      Incorporation of Documents. This Final Order and Judgment incorporates

herein and makes a part hereof (i) the Settlement Agreement (a copy of which, without exhibits,

is appended hereto as Exhibit 1); (ii) the Class Notice and Class Publication Notice (copies of

which are appended hereto as Exhibit 2); and, (iii) the CAFA service list (appended hereto as

Exhibit 3). The definitions of terms set forth in the Settlement Agreement are incorporated

hereby as though fully set forth in this Judgment.

       3.      Final Certification of the Class for Settlement Purposes. A class for

settlement purposes is hereby finally certified consisting of all persons who, as of September 21,

2009, owned a Residence located in Villa Lago at Renaissance Commons in Boynton Beach,

Florida, regardless of whether or not they own the unit as of the Notice Date. Excluded from the

Settlement Class are the units owned by RCR, and any other Defendant in the Hobbie matter and

any person, firm, trust, corporation, or other entity related or affiliated with Defendants

including, without limitation, persons who are officers, directors, employees, associates or

partners of the Defendants. A list of those persons who have timely and validly excluded

themselves from the Settlement Class, and who are therefore not bound by this Final Order and

Judgment, has been filed jointly by the Settling Parties with the Court and is incorporated herein

and made a part hereof. Those Settlement Class Members who have not been excluded from the

Settlement Class are bound by this Final Order and Judgment and the terms of the Settlement

Agreement.

       4.      Class Findings. For purposes of the Settlement of the Litigation (without an




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adjudication on the merits), the requirements of due process and the Federal Rules of Civil

Procedure and the Rules of the Court have been met in that:

               The members of the Settlement Class are so numerous that it is impracticable to

bring all members of the Settlement Class before the Court.

               There is a well-defined community of interest among members of the Settlement

Class in certain questions of law or fact that are common to the Settlement Class, are

substantially similar, and predominate over any individual questions of fact and law. The

Plaintiffs allege, inter alia, that RCR sold Residences constructed with Chinese Drywall when it

knew, but failed to disclose, any information about unsafe materials used in the construction of

the Residences or common elements of Villa Lago. Thus, common questions include whether:

(i) RCR sold Residences constructed with Chinese Drywall during the Class Period; and, (ii)

RCR’s conduct fell below the duty of care owed by RCR to the Settlement Class. These

common questions are central to each Settlement Class Member’s claim and predominate over

questions affecting only individual members of the Settlement Class.

            The claims of the Class Representative, Wendy Lee Hobbie, are typical of the claims

of the Settlement Class, and the Class Representative will fairly and adequately protect the

interests of the Class, in that: (i) the interests of the Class Representative and the nature of her

alleged claims are consistent with those of the Settlement Class; (ii) there are no conflicts

between or among the Class Representative and Settlement Class Members; (iii) the Class

Representative has been and is capable of continuing to be an active participant in both the

prosecution of, and the settlement negotiations of, the Litigation; and (iv) the Class

Representative and the Settlement Class Members are represented by qualified, reputable counsel




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who are experienced in preparing and prosecuting class actions, including those involving the

sort of practices alleged in the Second Amended Complaint.

            A resolution of the Litigation in the manner proposed by the Settlement Agreement

is superior to other available methods for a fair and efficient adjudication of the Litigation. In

making these findings, the Court has considered, among other factors: (i) the interest of

Settlement Class Members in individually controlling the prosecution or defense of separate

actions; (ii) the impracticability or inefficiency of prosecuting or defending separate actions; (iii)

the extent and nature of any litigation concerning these claims already commenced; and (iv) the

desirability of concentrating the litigation of the claims in a particular forum.

       5.      Satisfaction of Due Process. The Court finds that the mailing of the Class

Notice and the publishing summary Notice as provided for by, and undertaken pursuant to, the

Preliminary Approval Order (i) constituted the best practicable notice to members of the

Settlement Class under the circumstances, (ii) constituted notice that was reasonably calculated,

under the circumstances, to apprise members of the Settlement Class of the pendency of the

Litigation and of the terms of the Settlement Agreement and their rights thereunder, including

their rights to object to those terms or to exclude themselves from the proposed Settlement and to

appear at the Fairness Hearing, (iii) was reasonable and constituted due, adequate and sufficient

notice to all persons entitled to be provided with notice, and (iv) fully complied with the

requirements of the United States Constitution, the Federal Rules of Civil Procedure and the

Rules of the Court.

       6.      CAFA Notice. The Court finds that service of the Settlement Agreement

together with the materials specified in 28 U.S.C. § 1715(b), upon the entities and individuals

listed in Exhibit 3 hereto on ____________, constituted sufficient and adequate notice to the



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appropriate federal and state officials as required by the Class Action Fairness Act (“CAFA”), 28

U.S.C. § 1715.

       7.        Adequate Representation. Settlement Class Counsel and the Class

Representative have adequately represented the Settlement Class throughout this Litigation.

Therefore, the Court finds that Gary E. Mason and Daniel R. Bryson of Whitfield Bryson &

Mason LLP, Joel R. Rhine of Rhine Law Firm, P.C., and Adam Linkhorst of Linkhorst &

Hockin P.A. shall be appointed as Settlement Class Counsel and Wendy Lee Hobbie shall be

appointed Settlement Class Representative.

       8.        Final Approval. The terms and provisions of the Settlement Agreement have

been entered into in good faith and are hereby fully and finally approved as fair, reasonable and

adequate as to, and in the best interests of, both RCR and the Participating Class Members and in

full compliance with all applicable requirements of law, including constitutional due process.

RCR and Participating Class Members are hereby directed to implement and consummate the

Settlement Agreement according to its terms and provisions.

       9.        Claims Released. The Release set forth in Section 5.1.1 of the Settlement

Agreement is expressly incorporated in this Final Order and Judgment in all respects (and also is

set forth in its entirety, below) and is effective as of the date of this Final Order and Judgment,

such that RCR and the Released Parties are forever discharged from the claims or liabilities that

are the subject of the Release. RCR and the Released Parties shall be completely released,

acquitted and forever discharged from any and all claims, demands, judgments, actions, suits, or

causes of action, known or unknown, whether class, individual or otherwise (whether or not any

member of the Settlement Class has objected to the Settlement or makes a claim upon or

participates in the Settlement Fund, whether directly, representatively, derivatively, or in any



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other capacity): (i) that members of the Settlement Class ever had, have now or hereafter can,

shall, or may have on account of, arising out of, or relating to any act or omission of RCR or the

Released Parties concerning Chinese Drywall at the Residences, including but not limited to, any

conduct alleged and causes of action asserted in the Litigation, or that could have been asserted

or alleged in the Litigation and that arise out of the facts alleged in the Litigation; and/or (ii) that

were asserted in the Litigation, and/or (iii) that any individual or entity who has not properly

opted out, Knauf, and its affiliated companies/subsidiaries, Banner, and its affiliated companies,

and/or any Other Hobbie Defendants ever had, have now or hereafter can shall or may have on

account of, arising out of, or relating to any act or omission of RCR or the Released Parties

concerning Chinese Drywall at the Residences, including but not limited to, any conduct alleged

and causes of action asserted in the Litigation, or that could have been asserted or alleged in the

Litigation and that arise out of the facts alleged in the Litigation (collectively the “Released

Claims”). The Participating Class Members shall not, after the Execution Date, seek to establish

liability in the Litigation against RCR or any Released Party based, in whole or in part, upon any

of these Released Claims or conduct at issue in the Release Claims. Nothing in this Settlement

Agreement shall be construed to release any of the Class Members’ claims against any of the

Other Hobbie Defendants or any of the manufacturers of Chinese Drywall.

        10.     Permanent Injunction. All Settlement Class Members who have not been

excluded from the Settlement Class (and all persons acting on behalf of Settlement Class

Members who have not been excluded from the Settlement Class), any individual or entity who

has not properly opted out, Knauf, and its affiliated companies/subsidiaries, Banner, and its

affiliated companies, and/or Other Hobbie Defendants are hereby permanently and forever

barred and enjoined from maintaining, continuing, prosecuting, and/or commencing the



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Litigation, Related Actions, or any and all claims or actions, pending or future, against RCR that

arises from, concerns or otherwise relates, directly or indirectly, to Chinese Drywall. The Court

finds that entry of this permanent injunction is necessary and appropriate to aid the Court’s

jurisdiction over the Litigation and to protect and effectuate the Settlement Agreement and this

Final Order and Judgment.

       11.     Binding Effect. The terms of the Settlement Agreement and of this Final Order

and Judgment, including all exhibits thereto, shall be forever binding on the Class

Representative, Participating Class Members, and RCR, as well as their heirs, executors and

administrators, successors and assigns, and those terms shall have res judicata and other

preclusive effect in all pending and future claims, lawsuits or other proceedings that assert claims

that are encompassed within the Released Claims set forth in Section 5.1.1 of the Settlement

Agreement.

       12.     No Admissions. Neither this Final Order and Judgment nor the Settlement

Agreement (nor any document referred to herein or any action taken to carry out this Final Order

and Judgment) is, may be construed as, or may be used as any evidence, admission or concession

by or against the Released Parties of the validity of any claim or any actual or potential fault,

wrongdoing or liability whatsoever. Entering into or carrying out the Settlement Agreement, and

any negotiations or proceedings related thereto shall not in any event be construed as, or deemed

to be evidence of, an admission or concession with regard to the denials or defenses by any of

the Released Parties and shall not be offered or received in evidence in any action or proceeding

against any of them in any court, administrative agency or other tribunal for any purpose

whatsoever other than as evidence of the settlement or to enforce the provisions of this Final

Order and Judgment and the Settlement Agreement; provided however, that this Final Order and



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Judgment and the Settlement Agreement may be filed in any action against or by any of the

Released Parties to support a defense of res judicata, collateral estoppel, release, waiver, good

faith settlement, covenant not to sue, accord and satisfaction, judgment bar or reduction, full faith

and credit, or any theory of claim preclusion or issue preclusion or similar defense or

counterclaim.

       13.      Enforcement of Settlement Agreement. Nothing in this Final Order and

Judgment shall preclude any action to enforce its terms or the terms of the Settlement

Agreement, including, without limitation, the releases and permanent injunction.

       14.      Severability of Attorneys’ Fees and Expenses Award. Notwithstanding

anything herein to the contrary, this Final Order and Judgment shall be entirely severable from,

and not subject to appeal on the basis of, any award of attorneys’ fees and expenses or costs to be

made to Settlement Class Counsel and any such award of attorneys’ fees and expenses or costs

shall have no effect on the finality or effectiveness of this Final Order and Judgment.

       15.      Retention of Jurisdiction. The Court has jurisdiction to enter this Final Order

and Judgment. Without affecting the finality of this Judgment in any way, this Court hereby

retains continuing and exclusive jurisdiction over: (a) implementation of this Settlement and any

distribution to Class Members pursuant to further orders of this Court; (b) disposition of the

Settlement Fund pursuant to further orders of this Court; (c) hearing and determining an

application for attorneys’ fees, costs, expenses, and interest; (d) RCR until the final judgment

contemplated herein has become effective and each and every act agreed to be performed by the

Settling Parties all have been performed pursuant to the Settlement Agreement; (e) hearing and

ruling on any matters relating to the plan of distribution of Settlement proceeds; and (f) all

parties, including the Participating Class Members, for the purpose of enforcing and



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administering the Settlement Agreement and Exhibits thereto and the mutual releases and other

documents contemplated by, or executed in connection with, the Settlement Agreement.

       16.     Plan of Distribution. Settlement Class Counsel shall submit a proposed Plan of

Distribution to the Court at the completion of this case so that funds received in this case,

whether through settlements or judgment following trial, can be distributed together at one time.

The plan of distribution shall provide for redress of all claims filed by the Class Members which

may include remediation, cash compensation or a combination thereof. In no event shall RCR

have any responsibility, financial obligation, or liability whatsoever with respect to the

investment, allocation, preservation, distribution, or administration of the Settlement Fund,

including, but not limited to, the costs and expenses of such distribution and administration with

the sole exception of the provisions set forth in Section 12.1 of the Settlement Agreement.

       17.     Dismissal with Prejudice. This Litigation, including all claims and

counterclaims asserted in it and/or resolved herein, is hereby dismissed on the merits and with

prejudice against the Class Representative and all other Settlement Class Members (with respect

to the claims they have asserted) and RCR (with respect to claims made against it, and/or any

counterclaims it may have asserted as a Defendant), without fees or costs to any party except as

otherwise provided in this Final Order and Judgment or any separate order concerning attorneys’

fees and expenses.

       IT IS SO ORDERED.


                               This _____ day of _________, 2012, at New Orleans, Louisiana



                                                      ________________________________
                                                      ELDON E. FALLON
                                                      United States District Court Judge


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